                                                                                                               Exhibit 2



                                            Law No. 35 of the year 2020

(P. S. 1545); 2017, Law 35
 To amend Section 6.14 of Law No. 20-2017, Law of the Puerto Rico Department of
                                 Public Safety.
                           Law No. 35 of April 5, 2017

To amend Section 6.14 of Law 20-2017, as amended, known as the "Law of the
Puerto Rico Department of Public Safety", in order to establish that within the acts to
be penalized under this article will include those who fail to comply, contempt or
disobey in any way an executive order of the Governor of Puerto Rico establishing a
curfew.

                                                 EXPLANATORY STATEMENT

      On 11 March 2020, the World Health Organization declared Coronavirus
(COVID-19) a pandemic as a result of the presence of this new disease in more than
one hundred countries. The disease has impacted more than 370,000 people
worldwide and has claimed the lives of more than 16,000 people as of March 24,
reported by the World Health Organization. Similarly, 39 confirmed cases have been
reported in Puerto Rico by the same date.
       Measures implemented in countries affected by this disease have varied. Some
governments have been recognized for their prompt attention and execution of
measures to deal with this disease, while others did not act as effectively, affecting a
large number of their citizens.
       In Puerto Rico, on March 15, 2020, the Governor issued the No. OE-2020-023,
providing for measures to be implemented to control the spread of Coronavirus in
Puerto Rico. Within the measures set out in that Order, a curfew was established, the
closure of government and trade operations. This measure is in line with the
recommendations issued by the CDC to minimize contact between people who may
be infected and exponential spread is contained.
       Despite the order issued, citizens irresponsibly and endangering their lives and
that of others, have decided to ignore the measures put in place by the Government
of Puerto Rico in the protection of its citizens in order to prevent the spread of the
coronavirus. We have seen a media account in the media that approximately 275
arrests and 482 complaints have been made since the curfew began. This figure is
unacceptable, especially when the health and safety of our people is at risk.


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       On the other hand, it is highly reprehensible that malicious people use social
media or mass media, to disseminate false information with the intention of creating
confusion, panic or collective public hysteria in our village, while a state of emergency
or disaster or curfew promulgated by the governor of Puerto Rico is in force through
an Executive Order. Such conduct undermines the safety of the people and the social
order, endangering the health and life of citizens.
       That is why this Legislative Assembly understands it appropriate to amend Law
20-2017, as amended, for the purposes of providing that any person who fails to
comply with or disregard an executive order establishing a curfew or decrees a state
of emergency or disaster, and any person who transmits or allows transmission by any
means, through any social network or mass media, false information with the
intention of creating confusion, panic or collective public hysteria, may be penalized
in accordance with the provisions of the same.

DECREED BY THE PUERTO RICO LEGISLATIVE ASSEMBLY:
Section 1.- Amends Section 6.14 of Law 20-2017, as amended, known as "Law of the
Puerto Rico Department of Public Safety", to read as follows:

"Any person who shall perform any of the following acts shall be punished with a
penalty of imprisonment not exceeding six (6) months or a fine not exceeding five
thousand (5,000) or both sentences at the discretion of the court:
(a)...
...
(e) Violates, contempt or disobeys in any way an executive order of the Governor of
Puerto Rico establishing a curfew or decreeing a state of emergency or disaster.
(f) Transmit or permit by any means, through any social network or mass media, false
information with the intention of creating confusion, panic or collective public
hysteria, with respect to any proclamation or executive order decreeing a state of
emergency or disaster or curfew. In the event that the dissemination of false
information results in harm to the public purse, or to third parties, or public or private
property, exceeding ten thousand (10,000) dollars, or where the conduct results in
injury or physical harm, the penalty corresponding to that of a felony shall be imposed
in fourth degree."
Section 2.- This Act will become effective immediately after its approval.




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